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 Attorneys for Plaintiff
 UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

  UNITED STATES OF AMERICA,        ) CR. NO. 19-00099 DKW-KJM
                                   )
                   Plaintiff,      ) UNITED STATES’ EXHIBIT LIST;
                                   ) CERTIFICATE OF SERVICE
     vs.                           )
                                   ) DATE: October 13, 2023
  MICHAEL J. MISKE, JR.,      (01) ) TIME: 10:00 a.m.
                                   ) JUDGE: Hon. Derrick K. Watson
                      Defendant.   )
                                   )
                                   )

                      UNITED STATES’ EXHIBIT LIST
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       The Government hereby submits its exhibit list, attached hereto, in the

 above-captioned matter, for the evidentiary hearing presently set for

 October 13, 2023. The Government reserves the right to add to, delete from, or

 otherwise modify this list during the course of the hearing.

       DATED: October 11, 2023, at Honolulu, Hawaii.

                                               Respectfully submitted,

                                               CLARE E. CONNORS
                                               United States Attorney
                                               District of Hawaii


                                               By    /s/ Mark A. Inciong
                                                     MICHAEL NAMMAR
                                                     MARK A. INCIONG
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                                                     Assistant U.S. Attorneys

                                               Attorneys for Plaintiff
                                               UNITED STATES OF AMERICA




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                    UNITED STATES DISTRICT COURT
                         DISTRICT OF HAWAII
 ════════════════════════════════════════════════════════════════
 UNITED STATES OF AMERICA                                     EXHIBIT LIST

             v.

 MICHAEL J. MISKE, JR., aka “Bro,” et al.,          CR. NO. 19-00099-DKW


  Exhibit                                                Date      Date
            Description
  No.                                                    Offered   Adm.

            Copy of U.S. Department of Justice/FBI
  1
            Subpoena #302751 (Dkt. 976-2)
            Copy of U.S. Department of Justice/FBI
  2
            Subpoena #303570 (Dkt. 976-3)
            Copy of U.S. Department of Justice/FBI
  3
            Subpoena #30489 (Dkt. 976-4)
            Copy of U.S. Department of Justice/FBI
  4
            Subpoena #198875 (Dkt. 976-5)
            Redacted copy of FBI personnel email dated
  5
            April 28, 2016 (Dkt. 976-6)
            Copy of excerpt from AT&T Subpoena return
  6         for phone number (808) 476-9223
            (Dkt. 976-7)
            Copy of FBI personnel email dated
  7
            May 10, 2016 (Dkt. 976-8)
            Copy of FBI personnel email dated
  8
            May 18, 2016 (Dkt. 976-9)
            Redacted copy of a Yacht Insurance
  9         Application to Atlass Special Risks, Inc.
            (Dkt. 976-10)
            Redacted copy of excerpt of FBI reports
  10
            dated February 20, 2018 (Dkt. 976-11)
            Redacted copy of excerpt of FBI reports
  11
            dated March 8, 2017 (Dkt. 976-12)
            Redacted copy of an excerpt from a HPD
  12
            report (Dkt. 976-13)
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  Exhibit                                                  Date      Date
            Description
  No.                                                      Offered   Adm.

            Redacted copy of an excerpt from a Cellular
  13        Analysis Survey Team Report dated
            December 26, 2019 (Dkt. 976-14)
            Redacted copy of FBI Physical Surveillance
  14
            Log dated July 8, 2016 (Dkt. 977-2)
            Redacted copy of the FBI Opening Electronic
  15        Communication dated March 2, 2014
            (Dkt.978-2)
            Redacted copy of an FBI report of an
  16        October 10, 2014 interview of CW #1
            (Dkt. 978-3)
            Redacted copy of Information Regarding
  17        Department of Motor Vehicles dated March
            7, 2011 (Dkt. 978-4)
            Redacted copy of a letter from AATS, LLC,
  18        dated March 20, 2015, regarding a grand jury
            subpoena (978-5)
            Redacted copy of an FBI Confidential Human
  19        Source (“CHS”) Report dated July 19, 2015
            (Dkt. 978-6)
            Redacted copy of relevant portions
  20        of an FBI report of a September 22, 2015
            interview of CI #6 (Dkt. 978-7)
            Copy of an FBI report of a
  21        March 2, 2015 interview of Phillip Woo (Dkt.
            978-8)
            Redacted copy of an FBI CHS Report for CI
  22
            #2 dated April 27, 2014 (Dkt. 978-9)
            Redacted copy of relevant portions
  23        of an FBI External Intelligence Note dated
            March 27, 2015 (Dkt. 978-10)
            Redacted copy of HPD report 15-453470
  24
            dated November 12, 2015 (Dkt. 979-2)

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  Exhibit                                                Date      Date
            Description
  No.                                                    Offered   Adm.

            Redacted copy of HPD report 15-455318
  25
            dated November 14, 2015 (Dkt. 979-3)
            Copy of FBI report regarding the
  26        December 4, 2015 execution of search
            warrant 15-01449 (Dkt. 979-4)
            Copy of FBI Electronic communication dated
  27
            June 6, 2016
            Copy of Subscriber information dated
  28
            May 17, 2016
            Copy of Subscriber information dated
  29
            May 6, 2016




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                           CERTIFICATE OF SERVICE

       I hereby certify that, on the dates and by the methods of service noted below,

 a true and correct copy of the foregoing was served on the following at their last

 known address:

 Served Electronically through CM/ECF:

 Lynn Panagakos, Esq.
 Michael Kennedy, Esq.

 Attorneys for Defendant
 MICHAEL J. MISKE, JR.

       DATED: October 11, 2023, at Honolulu, Hawaii.


                                 /s/ Tiani Kaneakua
                                 U.S. Attorney’s Office
                                 District of Hawaii
